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                                                                            FILED
                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA                    [ AU G1 0 1011       I
                                                                       CLERK, U.S. DISTRICT COURT
                                                                   SOUTHERN DISTRICT Oe,CALIFORNIA
UNITED STATES OF AMERICA,                  CASE NO. 11 CR3232       Y.                \1      DEPUTY



                       Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
JEFFREY WILLIAMS (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government     dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 X__ the Court has granted the motion of the Government for dismissal
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned       s verdict, finding the defendant not guilty;

     of the    fense{s) as charged in the Indictment:

     21:952 and 960; 18:2



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: AUGUST 9, 2011
                                           BERNARD G. SKOMAL
                                           UNITED STATES MAGISTRATE JUDGE
